            Case 2:06-cr-00319-JLR             Document 195    Filed 11/30/06     Page 1 of 1



 1

 2

 3

 4

 5                            UNITED STATES DISTRICT COURT
                        for the WESTERN DISTRICT of WASHINGTON
 6

 7    UNITED STATES of AMERICA,                        )
                                                       )
 8                                Plaintiff,           )
 9                         vs.                         )
                                                       )               CR06-319 JLR
10
      DAVID EISELE,                                    )
11                                                     )
                                  Defendant.           )             MINUTE ORDER
12
            The following Minute Order is made at the direction of the Court, the Honorable
13
     James P. Donohue, United States Magistrate Judge:
14

15
            The Status Hearing regarding the Rule 20 transfer of this case to the District of Colorado
16
     is continued to Wednesday, December 20, 2006, at 10:00am, to allow the parties sufficient time
17
     to generate the required paperwork.
18

19

20

21

22

23                                Dated this 30th day of November , 2006
24

25                                /S/ PETER H. VOELKER
                                   Deputy Clerk
26   MINUTE ORDER
